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    ,JBXBI*TMBOE
                                  This   ,JBXBI     Island   home      contains    QSJNF    examples      of   the   R-Series
    WEBSITE                       motorized shading system. The customizable product met the needs of this family
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